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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        Case No. 1:22cv-203


   COMMODITY FUTURES TRADING
   COMMISSION,
                                                          COMPLAINT FOR INJUNCTIVE
                      Plaintiff,                          RELIEF, RESTITUTION, CIVIL
                                                          MONETARY PENALTIES AND
                                                          OTHER EQUITABLE RELIEF
                           v.                             UNDER THE COMMODITY
                                                          EXCHANGE ACT

   THE W TRADE GROUP LLC, LARRY
   RAMOS MENDOZA AND JOSEPH
   CARVAJALES,

                      Defendants.


         Plaintiff Commodity Futures Trading Commission (“Commission”) alleges as follows:

                                            I.      SUMMARY

         1.      From at least June 2013 through June 2020 (the “Relevant Period”), The W Trade

  Group LLC (“WTG”), by and through the actions of its employees and agents, including but not

  limited to, Larry Ramos Mendoza (“Ramos”), and Joseph Carvajales (“Carvajales”),

  (collectively “Defendants”), fraudulently solicited customers by phone, the internet, and U.S.

  mail, to open individual trading accounts in order to trade in, among other things, commodity

  futures (‘futures”), retail foreign currency on a leveraged or margined basis (“forex”) and/or

  options on commodity futures contracts (“options”). In their customer solicitations, Defendants

  made numerous false and misleading material statements concerning, among other things,

  whether WTG actually traded on behalf of WTG’s customers, the profitability of WTG’s trading,

  and WTG’s ability to minimize risk.
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         2.      In connection with this, WTG and Ramos misappropriated more than $19 million

  from at least 220 customers to pay for personal and business expenses and diverted funds

  deposited by new customers to make Ponzi scheme-like payments to earlier customers who

  requested account withdrawals. Moreover, WTG, by and through the actions of Ramos,

  fabricated account statements in an effort to prevent WTG customers from learning that they had

  misappropriated customer funds.

         3.      By virtue of this conduct, and as more fully set forth below, WTG and Ramos

  have engaged, are engaging, and/or are about to engage in acts and practices in violation of

  Sections 4b(a)(1)(A)-(C), 4b(a)(2)(A)-(C), and 4c(b) of the Commodity Exchange Act (“Act”),

  7 U.S.C. §§ 6b(a)(1)(A)-(C), 6b(a)(2)(A)-(C), and 6c(b), and Commission Regulation

  (“Regulation”) 5.2(b)(1)-(3) and 33.10(a)-(c), 17 C.F.R. §§ 5.2(b)(1)-(3) and 33.10(a)-(c) (2021).

         4.      By virtue of this conduct, and as more fully set forth below, Carvajales has

  engaged, is engaging, and/or is about to engage in acts and practices in violation of 7 U.S.C.

  §§ 6b(a)(1)(A) and (C), 6b(a)(2)(A) and (C), and 6c(b), and 17 C.F.R. §§ 5.2(b)(1) and (3) and

  33.10(a) and (c).

         5.      At all relevant times, the acts of Ramos and Carvajales were committed within the

  scope of their employment, agency, or office with WTG. Therefore, pursuant to Section

  2(a)(1)(B) of the Act, 7 U.S.C. § 2(a)(1)(B), and Regulation 1.2, 17 C.F.R. § 1.2 (2021), WTG is

  liable as a principal for the actions of Ramos and Carvajales in violation of the Act and

  Regulations.

         6.      At all times during the Relevant Period, Ramos was the controlling person of

  WTG. Therefore, pursuant to Section 13(b) of the Act, 7 U.S.C. § 13c(b), Ramos is liable as the




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  controlling person for the actions of WTG and Carvajales in violation of the Act and

  Regulations.

         7.      Unless restrained and enjoined by this Court, Defendants are likely to continue to

  engage in the acts and practices alleged in this Complaint or in similar acts and practices, as

  described more fully below.

         8.      Accordingly, pursuant to Section 6c of the Act, 7 U.S.C. § 13a-1, the Commission

  brings this action to enjoin Defendants’ unlawful acts and practices and to compel compliance

  with the Act and Regulations, and to further enjoin Defendants from engaging in any

  commodity-related activity.

         9.      In addition, the Commission seeks civil monetary penalties, restitution, and

  remedial ancillary relief, including but not limited to, trading and registration bans,

  disgorgement, rescission, pre- and post-judgment interest, and such other relief as the Court may

  deem necessary and appropriate.

                                II.    JURISDICTION AND VENUE

         10.     This Court possesses jurisdiction over this action pursuant to 28 U.S.C. § 1331

  (federal question jurisdiction) and 28 U.S.C. § 1345 (U.S. district courts have original

  jurisdiction over civil actions commenced by the United States or by any agency expressly

  authorized to sue by Act of Congress). In addition, Section 6c(a) of the Act, 7 U.S.C. § 13a-1(a),

  provides that U.S. district courts have jurisdiction to hear actions brought by the Commission for

  injunctive relief or to enforce compliance with the Act in the proper district court of the United

  States whenever it shall appear to the Commission that any person has engaged, is engaging, or

  is about to engage in any act or practice constituting a violation of any provision of the Act or

  any rule, regulation, or order thereunder.



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         11.     With respect to Defendants’ purported forex transactions, the Commission also

  has jurisdiction over the conduct and transactions at issue pursuant to Section 2(c)(2)(C) of the

  Act, 7 U.S.C. § 2(c)(2)(C). For example, Section 2(c)(2)(C)(i) of the Act, 7 U.S.C. §

  2(c)(2)(C)(i) sets out the agreements, contracts or transaction subject to the Commission’s forex

  jurisdiction. Moreover, Section 2(c)(2)(C)(vii) of the Act, 7 U.S.C. § 2(c)(2)(C)(vii),

  underscores the Commission’ forex jurisdiction by reaffirming that, “the Commission shall have

  jurisdiction over, an account or pooled investment vehicle that is offered for the purpose of

  trading, or that trades, any agreement, contract, or transaction in foreign currency described in”

  Section 2(c)(2)(C)(i) of the Act. Additionally, forex agreements, contracts, and transactions, and

  accounts (as set out in Section 2(c)(2)(C)(i)) and forex accounts or pooled investment vehicles

  (as set out in Section 2(c)(2)(C)(vii)) shall be subject to, among other things, Section 4b of the

  Act, 7 U.S.C § 6b, pursuant to § 2(c)(2)(C)(ii)(I) of the Act, 7 U.S.C. 2(c)(2)(C)(ii)(I).

         12.     Venue properly lies with this Court pursuant to Section 6c(e) of the Act, 7 U.S.C.

  § 13a-1(e), because Defendants are found in, inhabit, or transact business in this District and the

  acts and practices alleged in this Complaint have occurred or are occurring within this District.

                                           III.     THE PARTIES

         13.     Plaintiff Commodity Futures Trading Commission is an independent federal

  regulatory agency charged by Congress with the administration and enforcement of the Act and

  Regulations promulgated thereunder. The Commission maintains its principal office at 1155

  21st Street N.W., Washington, DC 20581.

         14.     The W Trade Group LLC is a Delaware company formed in June 2013,

  authorized to transact business in Florida. The formation documents list Ramos as WTG’s sole

  officer, director, and agent. Its principal place of business is located at 5201 Blue Lagoon Drive,



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  Miami, FL, 33126. WTG has never been registered with the Commission.

         15.     Larry Ramos Mendoza is an individual residing in Miami, Florida. During the

  Relevant Period, he was the Managing Director and sole officer of WTG. He has never been

  registered with the Commission.

         16.     Joseph Carvajales is an individual residing in Miami, Florida. He was WTG’s

  Investor Relations Director and assisted in operating WTG until his resignation in November

  2019. He was previously registered with the Securities and Exchange Commission. He has

  never been registered with the Commission.

                                               IV. FACTS

         A.      Defendants Committed Sales Solicitation Fraud

         17.     During the Relevant Period, WTG, Ramos, and Carvajales fraudulently solicited

  members of the general public throughout the United States and abroad to engage in, among

  other things, futures, forex, and/or options trading. In their fraudulent solicitations, Ramos and

  Carvajales, acting as employees and agents of WTG, made numerous false statements to WTG

  customers and prospective customers.

         18.     First, in an effort to give prospective WTG customers a false sense of security,

  Carvajales, acting as an agent of WTG, falsely represented that WTG operates on the “four main

  exchanges” in New York, Sydney, Tokyo and London. In fact, WTG, operated on none.

  Additionally, Carvajales, also falsely asserted that WTG’s trading in the US was “supported by

  SIPC” and trading in the UK was “supported by FSCS,” when in fact there was no regulatory

  oversight of WTG’s non-existent trades.

         19.     Second, Ramos and Carvajales, acting as employees and agents of WTG,

  misrepresented to prospective WTG customers that WTG would trade futures, forex, and/or



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  options on behalf of customers. After discussions with Ramos and Carvajales about the “futures

  contracts” WTG was trading, prospective customers were given an application to open

  individualized trading accounts at an online futures commission merchant which included a list

  of commodities their funds purportedly would trade. In fact, WTG never traded on behalf of

  customers, in individualized or pooled accounts. Ramos and Carvajales failed to disclose to

  WTG customers that individual trading accounts had not been opened, or that customer funds

  had not been placed into trading accounts at all.

         20.     Third, Ramos and Carvajales, acting as employees and agents of WTG, claimed

  to prospective WTG customers that WTG traded customer funds using a commodity trading

  algorithm Ramos had developed, and each trade made using the algorithm would generate up to

  a 4% return. Ramos claimed to one potential customer that he had software that “looked at the

  last 80 years of commodities behavior” and it would put out an alert to tell you where to put the

  money. Carvajales, after describing the algorithm that Ramos had purportedly developed, told at

  least one potential customer that there was a minimum of 1.7% profit a month. This was untrue.

  No trading was ever done by WTG for its customers, much less with a commodity trading

  algorithm.

         21.     Fourth, Ramos, and Carvajales, acting as employees and agents of WTG, further

  claimed falsely that WTG customers would only risk 2% of their funds per transaction, and if

  WTG lost 15 consecutive transactions for a maximum total loss of 30%, it would immediately

  cease all transactions. Ramos told prospective customers that “his expertise was to protect

  investments” and that if he saw the risk going too high, WTG would pull out of the trade.

  Carvajales represented to a prospective customer that if a loss ever got to more than 2%, they




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  would pull the trade from the market. This was also untrue because WTG did not open any

  customer accounts, nor did it trade customer funds.

         22.     Finally, in an effort to demonstrate WTG’s trading sophistication, Ramos, and

  Carvajales, acting as employees and agents of WTG, also claimed falsely that prospective

  customers would have access to their trading accounts through a WTG mobile application, where

  they could review their account statements, and could withdraw their funds at any time. At least

  one prospective customer described how Carvajales set up the WTG mobile application on his

  phone. However, the WTG mobile application accounts that customers were able to access,

  showed fraudulent account statements that represented false trading profits.

         23.     In soliciting customers, Ramos and Carvajales on behalf of WTG, made no

  attempt to determine if customers were eligible contract participants (“ECPs”) under Section

  1a(18)(A)(xi) of the Act, 7 U.S.C. § 1a(18)(A)(xi). In fact, most, if not all, of WTG’s customers

  were not ECPs.

         B.      WTG and Ramos Engaged in Misappropriation

         24.     Based upon Ramos’ and Carvajales’ fraudulent solicitations, WTG received

  approximately $19 million from at least 220 customers for the purported purpose of trading

  futures, forex, and/or options. Rather than use customer funds for trading, WTG and Ramos

  misappropriated these funds, which had been deposited in WTG bank accounts opened by

  Ramos. WTG and Ramos used customer money for Ramos’ and Carvajales’ personal expenses

  and salaries, and WTG business expenses.

         25.     WTG and Ramos also diverted customer funds to make Ponzi scheme-like

  payments to customers who requested withdrawals from WTG.




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         26.     WTG and Ramos also appear to have used customer money to maintain and

  operate a boat named “The Blessing.” Ramos and Carvajales used the boat to entertain and

  solicit customers and to give the impression that they were operating a successful business. In

  one instance Ramos deposited $109,000 of checks consisting of customer money to a WTG bank

  account in October of 2018 and then transferred $9,000 of it to a separate WTG controlled bank

  account twelve days later. The following day Ramos paid for a boat charter totaling $3,769.80

  from the second WTG account. Altogether Ramos, using WTG accounts, spent $50,000 on

  boating expenses, including marina fees, maintenance and repairs, and charters.

         27.     WTG customers attempted unsuccessfully to withdraw money from their

  supposedly profitable accounts. For example, one customer asked for his funds to be returned,

  and Ramos provided him with a check, but asked him to wait 2 weeks prior to depositing the

  funds. After 2 weeks, the customer attempted to deposit the check, but was told by his bank that

  there were insufficient funds in WTG’s account. When the customer confronted Ramos and

  threatened to go to the police, Ramos told the him that he would have better luck getting his

  funds back without Ramos in prison. The fraudulent scheme ended in June 2020, at which time

  WTG and Ramos had misappropriated all of their customers’ money.

         C.      WTG and Ramos Sent False Records to Customers

         28.     Throughout the Relevant Period, WTG and Ramos sent WTG customers falsified

  account statements through the WTG mobile application. Rather than showing that WTG had

  not actually opened trading accounts on behalf of customers with their funds, the WTG mobile

  application showed false balances and profits for each customer.




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         29.      WTG and Ramos, sent fake 1099-INT tax forms to at least one WTG customer.

  That fake tax form purported to show a trading profit of $79,513, when in fact there had been no

  trading of customer funds through WTG.

           D.     Interstate Commerce and Control

         30.      As part of their scheme, Defendants used the U.S. mail or other instrumentalities

  of interstate commerce, including telephone and internet, to: (1) receive funds from customers;

  (2) disseminate marketing documents to actual and potential customers; and (3) disseminate false

  statements to actual and potential customers.

         31.      At all times during the Relevant Period, Ramos was WTG’s Managing Director

  and sole officer. Ramos possessed both general control over WTG’s business and specific

  control over the conduct underlying WTG’s and Carvajales’s violations. Ramos was the ultimate

  decision maker, and controlled all aspects of WTG’s business. Ramos, in conjunction with other

  employees, managed the WTG day-to-day operations, and engaged in the solicitation of new and

  existing customers. Ramos opened and had signatory authority on all WTG bank accounts in

  WTG’s name.

                  V.     VIOLATIONS OF THE COMMODITY EXCHANGE ACT

                                              COUNT I

                      FRAUDULENT CONDUCT IN VIOLATION OF
                SECTION 4b(a)(1)(A)-(C) OF THE ACT, 7 U.S.C. § 6b(a)(1)(A)-(C)
                               (FUTURES TRANSACTIONS)

         31.      The allegations set forth in paragraphs 1 through 30 are re-alleged and

  incorporated herein by reference.

         32.      Section 4b(a)(1)(A)-(C) of the Act, 7 U.S.C. § 6b(a)(1)(A)-(C), makes it

  unlawful:



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                 [F]or any person, in or in connection with any order to make, or the
                 making of, any contract of sale of any commodity in interstate
                 commerce or future delivery that is made, or to be made, on or
                 subject to the rules of a designated contract market, for or on behalf
                 of any other person . . .

                 (A) to cheat or defraud or attempt to cheat or defraud the other
                 person;

                 (B) willfully to make or cause to be made to the other person any
                 false report or statement or willfully to enter or cause to be entered
                 for the other person any false record;

                 (C) willfully to deceive or attempt to deceive the other person by
                 any means whatsoever in regard to any order or contract or the
                 disposition or execution of any order or contract . . . .

         33.     During the Relevant Period, in connection with the purported trading of futures

  conducted or to be conducted by Defendants on behalf of WTG customers, WTG and Ramos

  violated 7 U.S.C. § 6b(a)(1)(A)-(C) by, among other things: (i) misappropriating customer

  funds; (ii) making, causing to be made; and distributing reports or statements to customers that

  contained false information; and (iii) making material misrepresentations to WTG’s customers

  and prospective customers.

         34.     During the Relevant Period, in connection with the purported trading of futures

  conducted or to be conducted by Defendants on behalf of WTG customers, Carvajales violated

  7 U.S.C. § 6b(a)(1)(A) and (C) by making material misrepresentations to WTG’s customers and

  prospective customers.

         35.     Defendants engaged in the acts and practices described above willfully,

  knowingly or with reckless disregard for the truth.

         36.     Each act of misappropriation, misrepresentation and issuance of a false statement,

  including but not limited to those specifically alleged herein, is alleged as a separate and distinct

  violation of 7 U.S.C. § 6b(a)(1)(A)-(C).

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         37.     Ramos directly or indirectly controlled WTG and did not act in good faith, or

  knowingly induced, directly or indirectly, the acts constituting WTG’s violations of 7 U.S.C.

  § 6b(a)(1). Therefore, pursuant to Section 13(b) of the Act, 7 U.S.C. § 13c(b), Ramos is liable

  for each of WTG’s violations of 7 U.S.C. § 6b(a)(1)(A)-(C) as a controlling person of WTG.

         38.     The acts of Ramos and Carvajales, as described in this Complaint, were done

  within the scope of their employment and/or agency with WTG. Therefore, pursuant to Section

  2(a)(1)(B) of the Act, 7 U.S.C § 2(a)(1)(B) and Regulation 1.2, 17 C.F.R. § 1.2 (2021), WTG is

  liable as a principal for each act or failure of Ramos and Carvajales that constitute violations of

  7 U.S.C. § 6b(a)(1)(A)-(C).



                                              COUNT II

                    FRAUDULENT CONDUCT IN VIOLATION OF
   SECTION 4b(a)(2)(A)-(C) OF THE ACT, 7 U.S.C. § 6b(a)(2)(A)-(C) and COMMISSION
              REGULATION 5.2(b)(1)-(3), 17 C.F.R. § 5.2(b)(1)-(3) (2021)
                             (FOREX TRANSACTIONS)

         39.     The allegations set forth in paragraphs 1 through 38 are re-alleged and

  incorporated herein by reference.

         40.     Section 4b(a)(2)(A)-(C) of the Act, 7 U.S.C. § 6b(a)(2)(A)-(C) makes it unlawful:

                 [F]or any person, in or in connection with any order to make, or the
                 making of, any contract of sale of any commodity for future
                 delivery, or swap, that is made, or to be made, for or on behalf of,
                 or with, any other person, other than on or subject to the rules of a
                 designated contract market—

                 (A)    to cheat or defraud or attempt to cheat or defraud the other
                 person

                 (B)     willfully to make or cause to be made to the other person any
                 false report or statement or willfully to enter or cause to be entered
                 for the other person any false record;



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                 (C)      willfully to deceive or attempt to deceive the other person by
                 any means whatsoever in regard to any order or contract or the
                 disposition or execution of any order or contract, or in regard to any
                 act of agency performed, with respect to any order or contract for
                 or, in the case of paragraph (2), with the other person . . . .;

         41.     7 U.S.C. § 6b(a)(2)(A)-(C) applies to forex transactions as if they were futures

  contracts pursuant to Section 2(c)(2)(C)(iv) of the Act, 7 U.S.C. § 2(c)(2)(C)(iv).

         42.     Regulation 5.2(b)(1)-(3), 17 C.F.R. § 5.2(b)(1)-(3) makes it unlawful:

                 [F]or any person, by use of the mails or by any means or
                 instrumentality of interstate commerce, directly or indirectly, in or
                 in connection with any retail foreign exchange transaction:

                 (1) To cheat or defraud or attempt to cheat or defraud any person;

                 (2) Willfully to make or cause to be made to any person any false
                 report or statement or cause to be entered for any person any false
                 record; or

                 (3) Willfully to deceive or attempt to deceive any person by any
                 means whatsoever.

         43.     During the Relevant Period, WTG and Ramos violated Section 7 U.S.C.

  § 6b(a)(2)(A)-(C) and 17 C.F.R. § 5.2(b)(1)-(3) by, among other things: (i) misappropriating

  customer funds; (ii) making, causing to be made; and distributing reports or statements to

  customers that contained false information; and (iii) making material misrepresentations to

  WTG’s customers and prospective customers. in connection with purported forex trading.

         44.     During the Relevant Period, Carvajales violated Section 7 U.S.C. § 6b(a)(2)(A)

  and (C), and 17 C.F.R. § 5.2(b)(1) and (3) by making material misrepresentations to WTG’s

  customers and prospective customers in connection with purported forex trading.

         45.     Defendants engaged in the acts and practices described above willfully,

  knowingly or with reckless disregard for the truth.




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          46.     Each act of misappropriation, misrepresentation, and issuance of a false

  statement, including but not limited to those specifically alleged herein, is alleged as a separate

  and distinct violation of 7 U.S.C. § 6b(a)(2)(A)-(C) and 17 C.F.R. § 5.2(b)(1)-(3).

          47.     Ramos directly or indirectly controlled WTG and did not act in good faith, or

  knowingly induced, directly or indirectly, the acts constituting WTG’s violations of 7 U.S.C.

  § 6b(a)(2)(A)-(C) and 17 C.F.R. § 5.2(b)(1)-(3). Therefore, pursuant to 7 U.S.C. § 13c(b), Ramos

  is liable for each of WTG’s violations of 7 U.S.C. § 6b(a)(2)(A)-(C) and 17 C.F.R. § 5.2(b)(1)-

  (3) as a controlling person of WTG.

          48.     The acts of Ramos and Carvajales, as described in this Complaint, were done

  within the scope of their employment and/or agency with WTG. Therefore, pursuant to 7 U.S.C

  § 2(a)(1)(B) and 17 C.F.R. § 1.2 (2021), WTG is liable as a principal for each act or failure of

  Ramos and Carvajales that constitute violations of 7 U.S.C. § 6b(a)(2)(A)-(C) and 17 C.F.R.

  § 5.2(b)(1)-(3).

                                                 COUNT III

            VIOLATIONS OF SECTION 4c(b) OF THE ACT, 7 U.S.C. § 6c(b) AND
           COMMISSION REGULATION 33.10(a)-(c), 17 C.F.R. § 33.10(a)-(c) (2021)
                           (OPTIONS TRANSACTIONS)

          49.     The allegations set forth in paragraphs 1 through 48 are re-alleged and

  incorporated herein by reference.

          50.     Section 4c(b) of the Act, 7 U.S.C. § 6c(b) provides “No person shall offer to enter

  into, enter into or confirm the execution of any transaction involving any commodity regulated

  under this Act which is of the character of, or is commonly known in the trade as, an

  “option”, . . . “bid”, “offer”, . . . “put” [or] “call” . . . contrary to any rule [or] regulation, of the

  Commission . . . prohibiting any such transaction or allowing any such transaction under such



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  terms and conditions as the Commission shall prescribe.”

         51.     Regulation 33.10(a)-(c), 17 C.F.R. § 33.10(a)-(c) provides that:

                 It shall be unlawful for any person directly or indirectly—(a) To
                 cheat or defraud or attempt to cheat or defraud any other person; (b)
                 To make or cause to be made to any other person any false report or
                 statement thereof or cause to be entered for any person any false
                 record thereof; or (c) To deceive or attempt to deceive any other
                 person by any means whatsoever in or in connection with an offer
                 to enter into, the entry into, the confirmation of the execution of, or
                 the maintenance of, any commodity option transaction

         52.     During the Relevant Period, WTG and Ramos violated 7 U.S.C. § 6c(b) and

  17 C.F.R. § 33.10(a)-(c) by, among other things: (i) misappropriating customer funds;

  (ii) making, causing to be made; and distributing reports or statements to customers that

  contained false information; and (iii) making material misrepresentations to WTG’s customers

  and prospective customers in connection with purported options transactions.

         53.     During the Relevant Period, Carvajales violated Section 7 U.S.C. § 4c(b) and

  17 C.F.R. § 33.10(a) and (c) by making material misrepresentations to WTG’s customers and

  prospective customers in connection with purported options transactions.

         54.     Defendants engaged in the acts and practices described above willfully,

  knowingly or with reckless disregard for the truth.

         55.     Each act of misappropriation, misrepresentation, and issuance of a false

  statement, including but not limited to those specifically alleged herein, is alleged as a separate

  and distinct violation of 7 U.S.C. § 6c(b) and 17 C.F.R § 33.10(a)-(c).

         56.     Ramos directly or indirectly controlled WTG and did not act in good faith, or

  knowingly induced, directly or indirectly, the acts constituting WTG’s violations of 7 U.S.C.

  § 6c(b) and 17 C.F.R. § 33.10(a)-(c). Therefore, pursuant to 7 U.S.C. § 13c(b), Ramos is liable




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  for each of WTG’s violations of 7 U.S.C. § 6c(b) and 17 C.F.R. § 33.10(a)-(c) as a controlling

  person of WTG.

            57.   The acts of Ramos and Carvajales, as described in this Complaint, were done

  within the scope of their employment and/or agency with WTG. Therefore, pursuant to 7 U.S.C

  § 2(a)(1)(B), 17 C.F.R. § 1.2 (2021), WTG is liable as a principal for each act or failure of

  Ramos and Carvajales constitute violations of 7 U.S.C. § 6c(b) and 17 C.F.R. § 33.10(a)-(c).

                                   VI.     RELIEF REQUESTED

            WHEREFORE, the Commission respectfully requests that the Court, as authorized by

  Section 6c of the Act, 7 U.S.C. § 13a-1, and pursuant to its own equitable powers, enter:

            A.    An order finding that WTG and Ramos violated Sections 4b(a)(1)(A)-(C),

  4b(a)(2)(A)-(C), and 4c(b) of the Act, 7 U.S.C. §§ 6b(a)(1)(A)-(C), 6b(a)(2)(A)-(C), and 6c(b),

  and Regulations 5.2(b)(1)-(3) and 33.10(a)-(c), 17 C.F.R. §§ 5.2(b)(1)-(3) and 33.10(a)-(c)

  (2021);

            B.    An order finding that Carvajales violated Sections 4b(a)(1)(A) and (C),

  4b(a)(2)(A) and (C), and 4c(b) of the Act, 7 U.S.C. §§ 6b(a)(1)(A) and (C), 6b(a)(2)(A) and (C),

  and 6c(b), and Regulations 5.2(b)(1) and (3) and 33.10(a) and (c), 17 C.F.R. §§ 5.2(b)(1) and (3)

  and 33.10(a) and (c) (2021);

            C.    An order of permanent injunction enjoining WTG and Ramos, and their affiliates,

  agents, servants, employees, successors, assigns, attorneys, and all persons in active concert with

  them, who receive actual notice of such order by personal service or otherwise, from engaging in

  the conduct described above, in violation of have engaged, are engaging, and/or are about to

  engage in acts and practices in violation of 7 U.S.C. §§ 6b(a)(1)(A)-(C), 6b(a)(2)(A)-(C), and




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  6c(b), and Regulations 5.2(b)(1)-(3) and 33.10(a)-(c), 17 C.F.R. §§ 5.2(b)(1)-(3) and 33.10(a)-

  (c) (2021);

         D.      An order of permanent injunction enjoining Defendant Carvajales and his

  affiliates, agents, servants, employees, successors, assigns, attorneys, and all persons in active

  concert with him, who receive actual notice of such order by personal service or otherwise, from

  engaging in the conduct described above, in violation of have engaged, are engaging, and/or are

  about to engage in acts and practices in violation of 7 U.S.C. §§ 6b(a)(1)(A) and (C), 6b(a)(2)(A)

  and (C), and 6c(b), and 17 C.F.R. §§ 5.2(b)(1) and (3) and 33.10(a) and (c) (2021);

         E.      Enter an order of permanent injunction restraining and enjoining Defendants, and

  their affiliates, agents, servants, employees, successors, assigns, attorneys, and all persons in

  active concert with them, from directly or indirectly:

                 (i)     Trading on or subject to the rules of any registered entity (as that term is

                         defined in Section 1a(40) of the Act, 7 U.S.C. § 1a(40));

                 (ii)    Entering into any transactions involving “commodity interests” (as that

                         term is defined in Regulation 1.3, 17 C.F.R. § 1.3 (2021)), for accounts

                         held by Defendants or in which Defendants have a direct or indirect

                         interest;

                 (iii)   Having any commodity interests traded on Defendants’ behalf;

                 (iv)    Controlling or directing the trading for or on behalf of any other person or

                         entity, whether by power of attorney or otherwise, in any account

                         involving commodity interests;

                 (v)     Soliciting, receiving, or accepting any funds from any person for the

                         purpose of purchasing or selling any commodity interests;



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                 (vi)    Applying for registration or claiming exemption from registration with the

                         Commission in any capacity, and engaging in any activity requiring such

                         registration or exemption from registration with the Commission, except

                         as provided for in Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2021);

                 (vii)   Acting as a principal (as that term is defined in Regulation 3.1(a),

                         17 C.F.R. § 3.1(a) (2021)), agent, or any other officer or employee of any

                         person (as that term is defined in Section 1a(38) of the Act, 7 U.S.C.

                         § 1a(38)) registered, exempted from registration, or required to be

                         registered with the Commission, except as provided for in Regulation

                         4.14(a)(9)); and/or

                 (viii) Engaging in any business activities related to commodity interests;

         F.      Enter an order directing Defendants, as well as any third-party transferee and/or

  successors, to disgorge, pursuant to such procedure as the Court may order, all benefits received

  including, but not limited to, salaries, commissions, loans, fees, revenues, and trading profits

  derived, directly or indirectly, from the acts or practices which constitute violations of the Act

  and Regulations as described herein, including pre- and post-judgment interest;

         G.      Enter an order directing Defendants, as well as any of their successors, to make

  full restitution to every person or entity who has sustained losses proximately caused by the

  violations described herein, including pre-judgment and post-judgment interest;

         H.      Enter an order directing Defendants, as well as any of their successors, holding

  companies, and alter egos, to rescind, pursuant to such procedures as the Court may order, all

  contracts and agreements, whether implied or express, entered into between, with, or among




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  Defendants and any person or entity whose funds were received by Defendants as a result of the

  acts and practices that constitute violations of the Act or Regulations as described herein;

         I.      Enter an order directing Defendants to pay a civil monetary penalty, to be

  assessed by the Court, in an amount not to exceed the penalty prescribed by Section 6c(d)(1) of

  the Act, 7 U.S.C. § 13a-1(d)(1), as adjusted for inflation pursuant to the Federal Civil Penalties

  Inflation Adjustment Act Improvements Act of 2015, Pub. L. 114-74, 129 Stat. 584, tit. VII,

  § 701, and Regulation 143.8, 17 C.F.R. § 143.8 (2021), for each violation of the Act or

  Regulations, as described herein, plus post-judgment interest;

         J.      Enter an order requiring Defendants to pay costs and fees as permitted by

  28 U.S.C. §§ 1920 and 2412; and

         K.      Enter an order providing such other and further relief as the Court may deem

  necessary and appropriate under the circumstances.



  Dated: February 7 , 2022                      Respectfully submitted,

                                                COMMODITY FUTURES TRADING
                                                COMMISSION

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